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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

In re:

-CHARTOTS OF PALM BEACH, INC.,
Case No. 17-19455-BKC~PGH

Chapter _ 11

Debtor(s) /

NOTICE OF CHANGE OF ADDRESS

CHECK ONLY ONE:

DEBTOR(s): | | crepitor: [¥|_

Please print the following information:

NAME: William V. Mauro

OLD MAILING ADDRESS: 8895 North Military Trail

Suite 102 E

Palm Beach Gardens, Florida 33410

NEW MAILING ADDRESS: 107 Harbourside Drive

Jupiter, Florida 33477

DATED: 3-29-19 Cd fle. LOL

Signature of Debtor or Creditor

Signature of Joint Debtor (if applicable)

PHONE NUMBER: (917) 601-3500

All future notices shall be sent to the new mailing address

(6/11)
